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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

DEAN C. BOYD                                                                          PLAINTIFF

                                                         CAUSE NO. 4:20-CV-00192-GHD-DAS

REGINALD-C.N.A.,
COLLIER-RADIOLOGIST                                                               DEFENDANTS

                        ORDER DIRECTING PLAINTIFF TO SUBMIT
                     IDENTIFYING INFORMATION FOR DEFENDANTS

       On November 5, 2020, Plaintiff Dean C. Boyd, proceeding pro se, filed the instant civil

rights action challenging the conditions of his confinement under 42 U.S.C. § 1983. Doc. # 1. In

his complaint, Plaintiff named “Reginald-C.N.A.” and “Collier-Radiologist” as Defendants and

identified them as employees of the Mississippi Department of Corrections (“MDOC”). See id.

The Court entered a Process and Scheduling Order on April 9, 2021, allowing Plaintiff’s claims

to proceed forward. Doc. # 11. Counsel for MDOC, however, recently notified the Court that he

is unable to represent named Defendants because “MDOC has no record of anyone matching the

description of the named Defendants having been employed by MDOC.” Doc. # 15. The instant

action cannot proceed forward until Defendants have been served with process. Accordingly,

Plaintiff is directed to provide the Court with Defendants’ full names and last known addresses

within twenty-one (21) days from the date of this order. Plaintiff’s failure to do so may result in

dismissal of this action.

       SO ORDERED, this the 1st day of June, 2021.
                                              /s/ David A. Sanders    _______
                                              DAVID A. SANDERS
                                              UNITED STATES MAGISTRATE JUDGE
